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                         IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

 MICHAEL LIN, Individually and on Behalf         )
 of All Others Similarly Situated,               )
                                                 )
         Plaintiff,                              )
                                                 )    Case No. 1:20-cv-03144-JSR
 v.                                              )
                                                 )
 FGL HOLDINGS, CHINH E. CHU,                     )
 WILLIAM P. FOLEY, II, CHRISTOPHER               )
 O. BLUNT, KEITH W. ABELL, PATRICK               )
 S. BAIRD, MENES O. CHEE, RICHARD                )
 N. MASSEY, JAMES A. QUELLA and                  )
 TIMOTHY M. WALSH,                               )
                                                 )
         Defendants.                             )


                      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

        PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff Michael Lin (“Plaintiff”) hereby voluntarily dismisses the above-captioned action (the

“Action”). Defendants have filed neither an answer nor a motion for summary judgment in the

Action, and no class has been certified. Plaintiff’s dismissal of the Action is therefore effective

upon the filing of this notice.

 Dated: May 21, 2020                                 Respectfully submitted,

                                                     FARUQI & FARUQI, LLP

                                                     By: /s/ James M. Wilson, Jr.

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